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 4
 5   Attorney for Defendant
     Angelito Evangelista
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         )              NO. CR. S-08-318 LKK
12               Plaintiff,              )
                                         )
13   v.                                  )              STIPULATION AND ORDER RE
                                         )              MODIFICATION OF TURN IN DATE
14   ANGELITO EVANGELISTA,               )
                                         )
15                                       )
                 Defendant.              )
16                                       )
     ____________________________________)
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             It is hereby stipulated and agreed to between, Angelito Evangelista, by and through
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     counsel, Dwight M. Samuel, Attorney at Law, and United States of America, by and through
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     Russell Carlberg, Assistant United States Attorney, that the turn in date currently ordered by the
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     court of June 8, 2012 be vacated and that defendant will be ordered to turn himself in on July 17,
21
     2012.
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             The foundation for the requested modification of the courts order is based upon
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     defendant’s need to complete a deposition for his Workmen Compensation claim which is
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     presently set for July 9, 2012. . The deposition is currently scheduled during the time that
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     Evangelista is to be serving his jail sentence. This court has extended Mr. Evangelista’s turn in
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     date on one prior occasion to permit Mr. Evangelista to attend a workmen compensation medical
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     evaluation. Its believed that to not be able attend this deposition would place Mr. Evangelista’s
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 1   claim in jeopardy. The inability of Mr. Evangelista to perfect his claim would be detrimental to
 2   him and his family, whom Mr. Evangelista solely supports. It is understood by all parties that
 3   there will be no further requests for extensions of a turn in date.
 4          Based upon defendant’s representation the government does not oppose the modification
 5   of defendant’s turn in date as above enumerated.
 6          Accordingly, for the reasons stated above, it is respectfully requested that this stipulation
 7   between the parties that Mr. Evangelista’s self surrender date be extended to July 17, 2012, be
 8   granted.
 9
10   Respectfully submitted,
11
12   Dated: May 7, 2012
13
                                                                    /s/ Dwight M. Samuel
14                                                                  DWIGHT M. SAMUEL
                                                                    Attorney for Defendant
15
     Dated: May 7, 2012
16                                                                  /s/ Russell Carlberg
                                                                    RUSSELL CARLBERG
17                                                                  Assistant U.S. Attorney
18
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            IT IS SO ORDERED.
21
22   Dated: May 17, 2012
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